Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page1of23 PagelD 240

*

syersads qyaunyeary, Bhiq ‘ SSETD “S| 1owUIPIOOD dvd “suey *s “iq

GS CI RR

PIO? ‘aune fo Avp yz] ays panssi Aqasay $1 aqwo 1fij4a0 s1y
pUvDIPUT ‘AaJnDL] asda]
UOLNIITJSUT JOUOLTJIAAALO’) [DABPAT] AY] 1D
WDABOAd UOlDINPY SNAG
ay) pajajduos Aynfssaoons spy
SLO-E0S61#
SSOUADET ULDIITIA
JOY) SA1fIABI S1Y

 

uoyajduoy fo aqwofijsay
‘a
i

Agis6urjig ‘ta

 

Ly _
ATTAINS - plOz ‘9 jud
Oe) QL ludy

eIneH ee] OD4

4124] GOP YOOW Ou} JO UOIOd UOHFEUWOJUI By} JO uone;duios 104
SSOUIVH WITT
e e

_ 109 pasion

uomaiduioD Jo aqwanpmtes
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page3of23 PagelD 242

 

     

  

UapleA — sopeYIOe4 wWesHold

 

 

 

 

  

 

PRM pryis

XIAN 3€ PLO “Ec Avenuel GQACYVMV

   

 

  
 

Sexa] ‘YWOM YUOY ‘AySIOAIUP UBNSINYD SEXO]
! Ydjeasay |eJOIAeYag JO 9}N}VISUT
sjalOld AD10YD ys4l4 Pue YVLVG a4} Aq pedojanag

    

 

,OUUaIed Ul SiaUVed, palyjUa Huluie sis Buyuaeg
jO siNOY OE _— payajdwiod Ajjnjssazons sey

 

   

 

68PEVEH SSOUIEH WEIN

    

yeu] UMOUY 1] ag
Oulules, Jo aed WAT

 

  

 
oo
st
N
a
o
o
©
Oo
~
N
a
oO
st
oO
o
©
Oo
t+
ao
—
LO
N
~
oO
oO
To
L
re
vt
oO
©
—
Cc
ov
E
2S
Oo}
QO
Qa

~ UePre my ‘Jojde yy uoreys

Zoro HTD D ‘Aayeny esr]

Plecser, / 7 Vp OES

meg Jageuep wu

Pi FE

plod ‘G2 Aron
uo stuauiaunbas assnoo ay,

UOUISUDLT *
IIUDUALULD IAT Mdaaorary .
aunog alisalry °
SaqdC, YLAy Tusary °
sepasaf] pouruuy -
TUpyuny | JouoyoY
4OUDIUALA() .

 

OBFE: HHS S8SUT EET COETTEAR

NAWINOD DILNIdVYIHL

 
 

a 1p las EMRE Oa TRS SEES SUR NS He US EN TS RP MDE CERIN Re Taw Se TR SE BLD Toe AINSI SS EE EC A AO tab BRR ae Fn TRIES AG eS MS A ty NER AL cate DON see ba REALE
it |

1OVEUNIV Sg
[OE

JOSIAIOANS /JUSPUSIULEANS /USPIeNA
>
LY" BSL
vlO2 ‘€¢ Aenuer
UO WeIGBOJg SWIIOIA, UO SWHD jo edu
Su} JO} S]UaWaJINbel ssejo aul
pajajduoo Ajjnijsseoons seu

68VEVEH SSOUIEL WEII|IM

  

 

 

yeu) Saliueo Aqauay Siu]
UONS|AWOD jo a}edHIMWED

. __ Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page5of23 PagelD 244

BR PP RECS EP SRG Oe ST: TEA RSE OE RS BA EB GREE age

SE EEE,

ese STES

PER Say
(iI sas sag

2.

(Rise Aes ee edo

,
ca

ete od ae

Di DA DD Tn abe Ne BO PED BE BR He

| IO SRE LOA OE SE
+ .

0 UPL

YB L Yt fo

 

Si- 927- o SPP LY U9 °

 

SAAD BAA

a es ee

a Le EAR A aE a MO

“LD
2/902 — PZ 2,
WY)
Siee- 7° -€)
UD
LIOG Ft T/

4

 

 

 

[A a A A As SE EE en el

[cA lad AUR: ial

Re) apirlig

 

HPD UY

   

 

Lab.

ba a oe he A A ef

YL
avg, HOUND

THY TET)

woupiorg, sniyg

“Yo

POUL pa) Whitty

La
Nix

OR AD Ue od Gg Ly 090 warrinacry
2 ULPURD RUDBUOO BY yf ENR, JO aerOIES Pty ss ) exp agf cowpea sghio/'o poy yyy,

 

bShThE SS IU Wei) a) YL PPUROG Y POD Py

 

 

he ee De ee ee eee ee ew ae

Ye Re we Nw

ES En ae ne .

ara

hh
wee fe: SE Se fe mM A [NN OE OE eee eee
DO MG) Pig:
EGE - FZ 77
UO
ZIOE-~ FCP)
WD
2/96” 92° CF

 

 

fo uopypinog: Kilyg 1 oy 6 «apy dig, LO YoY" PY YlaYy 0 po wapoupucagp
0 ULE POTIUR IY AY ORL. fo HERG Yotiyg ) Cyn taf ooumpueze pyle] 2 PY CY

 

 

(Et aye py up * CEE EY ON emmy y pion py

     

vs
v M
Co
fe
ny
ae
tay

Pea
ey
nN
er
KS
o

iS
Ea
3

  

 

 

 

Siar (tn ale

wotes, a

: wv CC AE ee SE INC A aA ES Oe Oe ee ee TTT Tee

Aas Wace Ms. Za

Gd otc,
ea

OT
»
7

: Aero eee eee ee ee ee ee ee ee eee rer
 

bd
3"

z rnp prige
SIE-FE-F

LOD MUL Y LM Dr

CIF FEE)
VY /
(/o2” 92-77
5 nang, ~e 4 we OG, ag LO LE: YoY” ony, anya senmonsege}
CULUA POPUR PY AY Xan fo ROMS pty py ) exp agf eourpuenn pyfled'o soy oy, B
a °° 81-92-27 Aap “ * EOE FHL ETT 72 pom oy

 

    

1H MMs —

    

 

ee

       

ee eS

 

Et Le ee

 

 

 

 

PEELE EE

 

 

A it % é
ma

A ran A
10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page9of23 PagelD 248

Case 2

    

          

HIF AV

 

 

ef CT SKRUN
aE ay}

: sseyQ aouajoi, .
d fo worjazdurog go syaam » Jo uorruFo

 

SSoUuUIeH SWPITTIM

 

 

   

    

01 pajuasasd st aqvoifiq4ad siqy
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page 10o0f23 PagelD 249

-@

     

vd

ET OF &

dosviads

9091} 13499 dovupuary
S1Ma bvyweaga anum Puancoas ano 03 ppv noR sy Kamorsvodsex
Wasa MaYs 03 BuiInviazVIed ud spoLta Huevipronaqs anoR sabpamouajoy
SS1dVH9 adISNI—-SVIOWANONY SonoHooty AaaayA Nivel
aovinpuaqu jo saaam ~ fe Ovipeuyrszno }0 vianyGooa vy}

ZSPERE Tra

01 payasad Apnoea

 

aorta aounovaay
xadweg wveIq9a09 ASYAYON }O
Jagdoyo agisvi -svowANonyw SOMNOHOOY
AANA NIWA
WIM OL AIPVaAANS vanxvnow vad

 
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page 11of23 PagelD 250

fr’

SOIT |
MOUS DO

 

 

Josuods oprsuy

 

 

Cou nag ono“: IO}CUIPIOO,)

“UONCZIURBIQ Sda}g UAVS dy} WIL]

‘aseolol sty uodn

YMols sty Ul aATOddns aq 0} onuyjUOD [JIM aM puR oseazar sTy

uodn ssaoons ponurjuos pur 3soq ot) WI YSIM ay “UIeSe UOTJOSIIP

Jey} OF 0} Jou A[SUTT]IM Sosooyp pue soyeistw ised sty SMOUY

oY JeY} Ul SSOUSTEME JIOS JO BSUS J¥OIF B SRY dT ‘JNO s}a3 ay sou

premio SuryNd st sy yey) SyIOM Pood dU) UI MOI 0} onuruos Aju

[iM oy yey) Avid on “ssorsoid pue uoneanour sty Aq poSeinoous

Ajyeard ore oA ‘dn usqysty pue ysne] srayjo dyoy 0} Joumny

JO BSUS POO & sey pure ‘ssejd oY) UI SUNedionsed ur SsuDIOMprey

‘juasoid SABM]e SI OH “WreIdSOId IMO 0} Josse yeaI & SI OF] ‘punoue

ofl] SIY SuIsueyo uo prey YOM 0} SuInuyUOD si [THs pure ‘us0q

Sey WRITTIM “SSouep] Wel] “JA JOJ uoljepusuruodal Jo Jano]
SIU} SUTIM ore om “‘UOTTEZTURSIQ sdajg UDAdg dU} JO JTeYAq UC

CLOC-EC-L

000S-E89ZE NL ‘A190 Uje;UNOW

et an GS

uopezjueBbhic dejs u3Z

 
»

ee! COUR CECT CUR UT CTU UCT UCC UTC TTT TCC WOUCTCUTUTUTTTTT Te
Vly Arf) Pv”

Lg
: aa
VSS Spreng,

iat PUR
ci Ss” B

> G)
YG
cs) f° B GA OK

oy Iga teKfong
eyyluag, Joutpouas Peep §
2? URRY AYE. Uf? AME, He Y LOA AAs Yor worn
si- S- @ home ay DEER HOPE TTT) on pariacid 9 poem ny

 

    
    

 

   

 

 

 

 

 

es
Ce,
(hs
Fn
ka
3
Bs
i
GNP
a’
‘a
eal
cory
3
és
ees
Cen

 

 

eo

 

SEES ee EEE

« Dee be Pes
polinbey aouepuayy x
E107 ‘oz Ainr :eyeq

MOUS SeWOYU] SPlel-4 pols Aqueq "FZ yeusuey; UIA}OD Apor,, ydesor —:suojornuysu|

907 Pip Sts Sy 2 IY ee
«PLHOMm Pa}91]JU0D JNO Uj aoead Burpul4,

XOAN - JeulWUas InoY g (pameusY *g paliIQUddayY) ,.~EY,, 94} JO UONa|dWUOD jnJsseooNs J04

f

 

PIO ASIUIMIUOSUGUT MMM 9ZLL-OZ8-SL9 “IAL

OLLZE NL uosipew ‘61% xog ‘Od-
Aysiulwy yoeesINC UOsUg BasseuUa] :}Oe]U0D

MaUMOY WIM

03 YaPAWMyy

ye fe

 

Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page130f23 PagelD 252

 
 

10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page14o0f23 PagelD 253

Case 2

 

 

 

 

 

 

 

 
 
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page 15of23 PagelD 254

 

 

R.E.A. C. H.C Organization

Restoring Egelence J And Cominsenity Harmony. Ine.

Mountain City, Tennessee |

this Is To Certify That

 

_ Cention of { Program
OC { Le mpletion —

: - Having Sucesfuly cone S :

 

oS inking, outside the F Fenee

on This The 26th Day Spy wk o

 

 

 

 

 
Cle Ve Ae EO a, ee ee ee ee ee eT eee Tee a

 

PU COO Oe ETT e Te TCr eee

7 CM ee

UO rl) Peleg
clGe Gl © |

“MD
EsOE > SI
Vy Yo) AOMYMME) “EUG. ~

STOR ET Zo ZA
ZY texpplueag,
PAD, PRY SY WRU SYD) SHE, UB, 2p I UO, PROG

WOE “SPY 0, YB, PP PLGPYO 1 IE PPFD BE
“Uist Sf 7 apy 4g * 1) “runny 7 prove py

oi

 

 

   

 

 

 

 

 

 

 

ROS

PEEELIEES EERE ere ree eee ere

Lr LE
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page17of23 PagelD 256

+o

ava dosed
7 Z Z YW WT "STSVH NASAS SW

uewaqoug

ue p (oe WA

 

 

93001417499 dovvpuay
S143 eviierge anum Huanooas anak 03 pyu nok sy Kamoisvedsa~
quale Mays 03 GvinuayVOI Mia syolta Rawipsowyxa anoR sabpamovaoy
ald VHO adISNI—SnOWANONY SOMOHOIIY ABTA NIWA
aovouayan fo sajaam ~ Al euipeunysjno fo ven mGooa uj

 

LahehO + SSINIPH Weim

OL payasad Aypnoed

aqwoifII9 aoubpuayy
xadwog qwuaoadg AsUAaYYON Lo
4atayo apis -snowANoNy SomMoHomYy
AATIWA Nivel
WIM CL AIPVAAANS VE VNOW vas}

 
Case 2:10-cr-20194-SHM Document 60-4 Filed 08/25/14 Page 18o0f23 PagelD 257

pa i

aqua 4osvods
ES 7° 2

uewsyng

 

93001417499 domupuanay
S1u3 Ourage apiym Huanooas anol 03 pyu no sy Hxnoisvedsr~y
qWwaslg Mays 03 viMuized syle Huuuiprowsaxa anoR sabpamovaoy
aaldVH9 AdISNI—SnNOWANONY SOoMoHOoIY AaTAYA Ni
aouupvian jo seaam 7 Ovpunysino Lo vorGooas vy

 

banere 77 AY)
OL payvasad Arynorg

aqwoIyeo sovupvary
xajdwog qvierqIaANeg ASVAUON jo
4adoyo apis -snowANONY SsomoHonYy
AaMvA NiVal
VIM CL AIOVIAANS wigVNOW vad)

 
avg, 4osuods

CSIGE-0GG SHIA TT on

| F/0P- 08-5 SOL a

&JOl- CE - ep = w/ A F a

"pozrnboxz st ;eym puockaq pue saoge
‘surezHoid 203 GHurraajzunytoa sty 0} anp ‘worzyepunoy da}g waaag ay}
yo 320d juejyzodurr ue asureseq sey o4m

ESLERE # wei

103 SI} Pzreme STUL

 

LNAIWHSITGINOOY
IONYINUOIUATdG ONIGNYVLISLINO AHL

HaLdWHO ALIO-IUL NOILWQNQOd dis NAAQS

 
 

& ae (Ee eR A A a OCA MEA Ee Ae Re. J Oy SK. EO a
Vy omnis a
—_ ~ ) ’
CIB I &
UG
Cee VES
we AYDUYHHED, afl ,

Ter WAT
ayylung, prucweng, mrp B
7? wnpnyy AYE) Ut fo “WMG UBS Hy Wp“ Yay 0 po wepniniascaey B
PUD POUL PULD TULIUR LY AY) (GX f0 *eRONGS tty ) IO
SOF GS APY 9 Wf pone Sy > Ve

—

 

 

   

 

 

 

PEER Sa a SSS:

 

 

 

LISTS.

 

 

Sy TEL a
oo

 

 

EEE

TEE @ eS Gi

£/¢E - S
UD
g¢/ 0b § WT, ae ey

ABZ fo “aig aggudg, CLE ROY SG je 0 APOAHA FI) pr WOU “our | yi
My wepuosoid unl nig, SN) RIT on poxpyhan prco penaghopeed iy oye, F
ROS" S fami ug Bris Oy ry OL PAPUAOLG [7 pIonre frp? Y 5

Fs
ra

CH
5 p

 

ss.

 

 

SI

kB

 

  

a ee

 

 

 

Ee

 

 

~ ~* a al asda A a ee tad CaaS Aen a 7 y as 7 Ps "3 17 i ,

qasasaaS

 
LIARS ARNIS SST SETS OPTI CETTE

ory oor A oe 2 > “+ iran rer aae pon be ase
ie Ae ree Bain ote, . uot ve te we BEM aera vitae NG a ae ce io ate
A ae ae ee bea te See ek ee a ay Say R iy Pon . Trp ;
ieee rear She, pee PR as ook ule ie Denuran shai Men ant ae Le Le ce ads
: oe ree re Pros Brie meee Pere By nr oy Pe rr re
, it Aad Sete ee ar es - z awe pian « . A : ‘ ; 7a 5 ve: ;
NS ee rn a i co Re _ ha Sneny : ae aa P - ; . - " ae , vo

 

LLYN ICH saidvys ‘issy,

WOLYNIGLOOD UFLAYHLD

 

Avy 4 © A
NOILVAGN
ZHL 40 UW
aHL 40 UG

MON Sta
Qdqa2uinoau 2

ESRChe # SHOVIMT WHT)
LVHIL A4ZILUAD OL St SIHIL

 

«AIHSUAZAGWAWNW 40 21L1VIISZILUA)S.,
NOILVGNAO4 d21L1S5 N2AZBS 2HL
40 UFLAVHD ALID-1UL BHI

Ppeaiaane f

 
Bie AO

5 HB

: me)
oe
GC
es
at
ie
=
Pane
a)

ete
ty

 

 

“Fo ad ee he oe Se
a . b

VERDES

o

 

ef ~ 97

NE SS Ss Re

Ea

Fans

4s

Fi Sn se A es I

S ALPE Uy

See Pe ea We

CE od

“UO
CIOS OF D>

°

LA vO AE a ee Ce

 

<7 0e-S
“0

GY, JOUER, PRY By
wanlpiins AY) fo “aNg, Keg, -2yp og wr worl wcey poy toyp pial PUD yuton OBf tags
= Y PRUAAG Y POM PY p>

 

 

 

      

SH Pe BEE Ee EELS Misi oe ae 2 AAP REE

[i A Re ee

aT eS Bitte

Loe de

 

?

YOU. x

BA QIIAY? 6 LE “
“hi ; fp

 

 

hs
Si SARS SOP EE REE DOA SCA eS

 

ja ee oe, a

   

*

Te

v¥ RD ek De ee ee lk le

Aa dd ee oo ee ee ee EEE cE

Se
